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U.S. Department of Justice
United States Marshals Service See Uneituctions far Service of Procesy by © .S. \fewxdrad”

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PLAINTIFE

ILYA FELIKSOVICH IOSILEVICH
DEFENDANT

WALMART INC., ET AL.

COURT CASE NUMBER
22-CV-4757 (VB)

TY PE OF PROCESS
Summons & Complaint

 

NAME OF INDIVIDUAL. COMPANY. CORPORATION, ETC, TO SERVE OR DESCRIPTION OF PROPERTY TO SP1IZE OR CONDEMN

 

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AT ADDRESS ¢Sireet or RED. dparanent No. City. State and ZIP Cader
3113 East Main Street, Mohegan Lake, New York 10547

SEND NOTICE OF SERVICK COPY TO REQUESTER AT NAME ANO ADDRESS BELOW

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ilya Feliksovich losilevich
2401 Mermaid Avenue

 

Number of patties to be

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Brooklyn Wh4-H4224-2209

 

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Signature of CS. Marshal or Deputy

 

 

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